                                       Case 3:14-cr-00175-WHA Document 1190 Filed 05/14/20 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT

                                   5
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   6

                                   7

                                   8   UNITED STATES OF AMERICA,
                                   9                  Plaintiff,                            No. CR 14-00175 WHA

                                  10           v.

                                  11   PACIFIC GAS AND ELECTRIC                             ORDER SETTING BRIEFING
                                       COMPANY,                                             SCHEDULE AND HEARING ON
                                  12
Northern District of California




                                                                                            MOTION FOR LEAVE TO FILE A
                                                      Defendant.
 United States District Court




                                                                                            MOTION FOR RECONSIDERATION
                                  13

                                  14        Offender Pacific Gas and Electric Company has filed a motion for leave to file a motion
                                  15   for reconsideration of the April 29 order modifying conditions of probation. PG&E has also
                                  16   appealed that order and moved for a stay of the order pending reconsideration and appeal.
                                  17        The Court held a hearing regarding the modification of probation conditions on February
                                  18   19, and the April 29 order was fairly written within the colloquy from that hearing.
                                  19   Nevertheless, we will make sure the offender has a further opportunity to be heard. The
                                  20   government shall please file a response to the motion for leave to file a motion for
                                  21   reconsideration by MAY 21 AT NOON. A reply, if any, is due by MAY 25 AT NOON. A
                                  22   telephonic hearing on the motion is set for MAY 28 AT 9 A.M. In the meantime, the April 29
                                  23   order is STAYED pending the motion for reconsideration.
                                  24        IT IS SO ORDERED.
                                  25   Dated: May 14, 2020.
                                  26
                                                                                              WILLIAM ALSUP
                                  27                                                          UNITED STATES DISTRICT JUDGE
                                  28
